Case 1:18-cv-00279-CFC-CJB Document 117 Filed 04/01/20 Page 1 of 1 PageID #: 2294




                                       April 1, 2020

  The Honorable Colm F. Connolly                       VIA ELECTRONIC FILING
  United States District Court
  844 N. King Street
  Wilmington, DE 19801

           Re:     BIAL - PORTELA & CA., S.A. Litigation:
                   C.A. Nos. 18-279, 304, 312, 336, 341, 342, 382, 775-CFC-CJB

  Dear Judge Connolly:

          On behalf of the Plaintiffs, I am writing regarding Defendants’ April 1, 2020
  letter (D.I. 116 in C.A. No. 18-279-CFC) seeking leave to file a dispositive motion
  in the above-captioned Hatch-Waxman cases.

         Under the scheduling order,1 Defendants’ request should have been made by
  motion rather than by letter, and although we so noted during the parties’ meet-
  and-confer, Defendants have not complied. Unlike with motion practice, the local
  rules do not address the timing and length of responses to letters, and if the Court is
  inclined to consider Defendants’ motion in its current form, Plaintiffs respectfully
  request the Court’s guidance as to the date by which we should respond, as well as
  with respect to the length of our response and any formatting preferences.

                                                 Respectfully,

                                                 /s/ Steven J. Balick

                                                 Steven J. Balick (#2114)

  SJB/nml
  cc: All counsel of record (via electronic mail)

  1
        See November 16, 2018 scheduling order (D.I. 28, ¶ 12, in C.A. No. 18-279-
  CFC), which is consistent with Your Honor’s current Scheduling Order for Patent
  Cases in Which Infringement is Alleged, Revised March 2, 2020, at ¶ 21.
  {01550896;v1 }
